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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  RENZO BARBERI,

                  Plaintiff,

                  vs.

  COMA CAST CORP., a Florida Profit
  Corporation and SANTIAGO MENENDEZ,
  as Trustee under a land trust dated the 13th
  day of March, 1987,

            Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned
  counsel, hereby files this complaint and sues COMA CAST CORP. (“COMA CAST”)
  and SANTIAGO MENENDEZ, as Trustee under a land trust dated the 13th day of March, 1987
  (“MENENDEZ”) (hereinafter, collectively referred to as “Defendants”) for
  declaratory and injunctive relief; for discrimination based on disability; and for
  the resultant attorney's fees, expenses, and costs (including, but not limited to,
  court   costs    and   expert   fees),    pursuant   to   42   U.S.C.   §12181   et.   seq.,
  ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.      This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE

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  2.     The venue of all events giving rise to this lawsuit is located in Miami-
  Dade County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local
  Rules of the United States District Court for the Southern District of Florida,
  this is the designated court for this suit.


  PARTIES
  3.    Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the
  time of Plaintiff’s visit to Coma Cast Roof Tiles (“Subject Facility”), Plaintiff suffered
  from a “qualified disability” under the ADA, and required the use of a
  wheelchair for mobility. Specifically, Plaintiff suffers from paraplegia due to a
  severed T4 and T5, and is therefore confined to his wheelchair. Plaintiff
  personally visited Coma Cast Roof Tiles, but was denied full and equal access, and
  full and equal enjoyment of the facilities, services, goods, and amenities within
  Coma Cast Roof Tiles, which is the subject of this lawsuit. The Subject Facility is a
  roofing supplies store, and Plaintiff wanted to inquire about their products and
  prices but was unable to due to the discriminatory barriers enumerated in
  Paragraph 15 of this Complaint.


  4.    In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the
  rights of similarly situated disabled persons and is a “tester” for the purpose of
  asserting his civil rights and monitoring, ensuring and determining whether
  places of public accommodation are in compliance with the ADA.


  5.    Defendants, COMA CAST and MENENDEZ, are authorized to conduct
  business and are in fact conducting business within the State of Florida. The
  Subject Facility is located at 4383 SW 70th Court, Miami, FL. Upon information and
  belief, COMA CAST is the lessee and/or operator of the Real Property and
  therefore held accountable of the violations of the ADA in the Subject Facility
  which is the matter of this suit. Upon information and belief, MENENDEZ is the
  owner and lessor of the Real Property where the Subject Facility is located and
  therefore held accountable for the violations of the ADA in the Subject Facility

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  which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and

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              prejudice denies people with disabilities the opportunity to compete on
              an equal basis and to pursue those opportunities for which this country
              is justifiably famous and costs the United States billions of dollars in
              unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the    full   and   equal    enjoyment      of    the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation. Coma
  Cast Roof Tiles is a place of public accommodation by the fact it is an
  establishment that provides goods/services to the general public, and therefore,
  must comply with the ADA. The Subject Facility is open to the public, its
  operations affect commerce, and it is a sales establishment. See 42 U.S.C. Sec.
  12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public
  accommodation that must comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Coma Cast Roof Tiles located at 4383 SW 70th Court, Miami,
  FL, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; and by
  failing       to    remove        architectural       barriers   pursuant     to    42     U.S.C.

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  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:

           a) The customer parking facility in front of the business does not provide a

              compliant accessible parking space. 2012 ADA Standards 502.1




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          b) The parking facility has eight (8) marked standard spaces and two (2) non-

             compliant accessible parking spaces on the south side of the building in front of

             the main entrance. There are five (5) marked standard spaces on the west side of

             the building. 2012 ADA Standards 208.2

          c) The parking facility does not have the minimum number of compliant accessible

             parking spaces required. One (1) accessible parking space with adjacent access

             aisle is required. 2012 ADA Standards 208.2 The parking facility does not

             provide directional and informational signage to a compliant accessible parking

             space. 2012 ADA Standards 216.5

          d) The non-compliant parking space closest to the customer main entrance does not

             have an access aisle. Each designated accessible parking space must have an

             adjacent access aisle. Parking access aisles must be part of an accessible route to

             the building or facility entrance. Access aisles must be placed adjacent to

             accessible parking spaces. All spaces must be located on an accessible route that

             is at least 44 inches wide so that users are not compelled to walk or wheel behind

             parked vehicles except behind his or her own vehicle. 2012 ADA Standards

             502.2, 502.3

          e) The second non-compliant space is located seven parking spaces to the east of the

             first one. This space is mismarked. Both the parking space and the access aisle are

             too small. The non-compliant accessible parking space does not have the correct

             ground markings. Accessible parking spaces must be striped in a manner that is

             consistent with the standards of the controlling jurisdiction (FDOT) for other

             spaces and prominently outlined with blue paint, and must be repainted when



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             necessary, to be clearly distinguishable as a parking space designated for persons

             who have disabilities. 2012 ADA Standards 502.6.1

          f) Both non-compliant parking spaces are not level. Parking spaces and access aisles

             serving them must comply with Section 302. Access aisles must be at the same

             level as the parking spaces they serve. Changes in level are not permitted. Slopes

             not steeper than 1:48 is permitted to allow water runoff. 2012 ADA Standards

             502.4

          g) There is no compliant access aisle attached to an accessible route serving any

             existing parking space which would allow safe entrance or exit of vehicle for

             accessible persons requiring mobility devices. 2012 ADA Standards 502.2

          h) There is currently no existing accessible route to help persons with disabilities

             enter the facility or safely maneuver through the parking area. At least one

             accessible route must be provided within the site from accessible parking spaces

             and accessible passenger loading zones; public streets and sidewalks; and public

             transportation stops to the accessible building or facility entrance they serve. 2012

             ADA Standards 206.2.1

          i) The main office entrance doorway is non-compliant. There is a vertical rise (step)

             at the threshold exceeding the maximum rise allowed. Changes in level of 1/4

             inch high maximum are permitted to be vertical. 2012 ADA Standards 302.2

          j) The main entrance door has non-compliant knob type door hardware. Operable

             parts must be operable with one hand and must not require tight grasping,

             pinching, or twisting of the wrist. 2010 ADA Standards 309.4




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           k) The facility does not provide compliant directional and informational signage to

               an accessible route which would lead to an accessible entrance. Where not all

               entrances comply, compliant entrances must be identified by the International

               Symbol of Accessibility. Directional signs that indicate the location of the nearest

               compliant entrance must be provided at entrances that do not comply. 2012 ADA

               Standards 216.616.

  16.   Upon information and belief there are other current violations of the ADA

  at Coma Cast Roof Tiles. Only upon full inspection can all violations be identified.

  Accordingly, a complete list of violations will require an on-site inspection by

  Plaintiff’s representatives pursuant to Rule 34b of the Federal Rules of Civil

  Procedure.



  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.   Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


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  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, Plaintiff demands judgment against the Defendants and requests
  the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facility to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.


  Dated this June 29, 2021.

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  Respectfully submitted by:

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  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.

  RENZO BARBERI,

                Plaintiff,

                vs.

  COMA CAST CORP., a Florida Profit
  Corporation and SANTIAGO MENENDEZ,
  as Trustee under a land trust dated the 13th
  day of March, 1987,

            Defendants.
  _______________________________/

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 29, 2021, I electronically filed the
  Complaint along with a Summons for each Defendant with the Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or pro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filing generated
  by CM/ECF or via U.S. Mail for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

  By: Ronald E. Stern
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                                   SERVICE LIST:

   RENZO BARBERI, Plaintiff, vs. COMA CAST CORP., a Florida Profit Corporation and
    SANTIAGO MENENDEZ, as Trustee under a land trust dated the 13th day of March, 1987

               United States District Court Southern District of Florida

                                      CASE NO.


  COMA CAST CORP.

  REGISTERED AGENT:

  4383 SW 70TH CT
  MIAMI, FL 33155

  VIA PROCESS SERVER


  SANTIAGO MENENDEZ, as Trustee under a land trust dated the 13th day of March,
  1987

  7040 SW 44 ST
  MIAMI, FL 33155-4609

  VIA PROCESS SERVER




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